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 5                            UNITED STATES DISTRICT COURT
 6                        SOUTHERN DISTRICT OF CALIFORNIA
 7   UNITED STATES OF AMERICA,                 Case No. 19-CR-2024-DMS
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                 Plaintiff,
 9                                             ORDER GRANTING UNITED STATES’
           v.                                  MOTION TO DISPOSE OF EVIDENCE
10
11   ROCIO ZAMORA-PEDRIN,
12
                 Defendant.
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14        Based upon the United States’ Motion to Dispose of Evidence in this case, and for

15 the reasons set forth therein, and good cause appearing therefor, it is hereby ORDERED
16 that the United States may dispose of, and need not preserve, the evidence in this case,
17 including any vehicle or drug evidence.
18       IT IS SO ORDERED.
19 Dated: November 4, 2020
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